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                                 IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                                    )
                                                             )                8:12CR33
                          Plaintiff,                         )
                                                             )
        vs.                                                  )                  ORDER
                                                             )
ALEJANDRO OLVERA-MARTINEZ,                                   )
                                                             )
                          Defendant.                         )


        This matter is before the court on the motion for an extension of time by defendant Alejandro Olvera-
Martinez (Olvera-Martinez) (Filing No. 58). Olvera-Martinez seeks until July 20, 2012, in which to file pretrial
motions in accordance with the progression order. Olvera-Martinez's counsel represents that Olvera-Martinez
will file an affidavit wherein he consents to the motion and acknowledges he understands the additional time may
be excludable time for the purposes of the Speedy Trial Act. Olvera-Martinez's counsel represents that
government's counsel has no objection to the motion. Upon consideration, the motion will be granted


        IT IS ORDERED:
        Defendant Olvera-Martinez's motion for an extension of time (Filing No. 58) is granted. Olvera-Martinez
is given until on or before July 20, 2012, in which to file pretrial motions pursuant to the progression order. The
ends of justice have been served by granting such motion and outweigh the interests of the public and the
defendant in a speedy trial. The additional time arising as a result of the granting of the motion, i.e., the time

between June 22, 2012, and July 20, 2012, shall be deemed excludable time in any computation of time under
the requirement of the Speedy Trial Act for the reason defendant's counsel requires additional time to adequately
prepare the case, taking into consideration due diligence of counsel, and the novelty and complexity of this case.
The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).


        DATED this 22nd day of June, 2012.
                                                             BY THE COURT:
                                                             s/ Thomas D. Thalken
                                                             United States Magistrate Judge
